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IN THE UNITED STATES DISTRICT COURT .
FOR THE DISTRICT OF NEW MEXICQ:355..=. i555

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CALVIN JACKSON, OOFER 24

Plaintiff,

  

VS.

GARY JOHNSON, Governor of New Mexico,

ROBERT J. PERRY, Secretary of Corrections, .

JOHN SHANKS, Director of Adult Prisons, CIV 6 0 fj 2 6 8
DONNA WILPOLT, Deputy Corrections Secretary,

JERRY TAFOYA, Deputy Corrections Secretary,

JEFF SERNA, Interstate Compact Coordinator,

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and Rit 125 L. Ph PLiSi
WACKENHUT CORRECTIONS CORPORATION,

GUADALUPE COUNTY CORRECTIONAL FACILITY,
GUADALUPE COUNTY, NEW MEXICO,
ELOY MONDRAGON, Former Warden,

and

RONALD ANGELONE, Virginia Corrections Director,
STANLEY K. YOUNG, Wallens Ridge State Prison Warden,

Defendants.

COMPLAINT FOR VIOLATIONS
OF CONSTITUTIONAL RIGHTS

Plaintiff Calvin Jackson presents the following Complaint seeking relief from

Defendants’ denial of Plaintiff's civil rights, stating as follows:
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I. Plaintiff is Calvin Jackson. At the end of August, 1999, Plaintiff was a
prisoner in “E-Pod” at the Guadalupe County Correctional Facility, the Wackenhut
Corporation prison in Santa Rosa, New Mexico.

2. Defendants are Gary Johnson, New Mexico Governor; Robert J. Perry,
Secretary of Corrections; John Shanks, Acting Deputy Secretary and Director of Adult
Prisons; Donna Wilpolt, Deputy Secretary; Jerry Tafoya, Deputy Secretary; and Jeff
Serna, the Interstate Compact Coordinator.

3, Defendants include the Wackenhut Corrections Corporation and Eloy
Mondragon, Former Warden of the Guadalupe County Correctional Facility, a
Wackenhut Corporation Prison in Santa Rosa, New Mexico and Guadalupe County, New
Mexico.

4. Defendant Ronald Angelone is the Virginia Corrections Department Director
and Stanley K. Young is the Warden of Wallens Ridge State Prison.

5. Defendants Gary Johnson, Robert Perry, John Shanks, Donna Wilpolt, Jerry
Tafoya, Jeff Serna, Eloy Mondragon, Ronald Angelone, and Stanley Young are sued in their
individual as well as their official capacities. The individually named Defendants are

alleged to have had individual involvement in the acts and omissions described herein.
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6. Jurisdiction of the Federal Court is invoked pursuant to the Court’s federal
question jurisdiction under 42 USC Sections 1983, 1985, 1986, and the laws and
Constitutions of the United States and the State of New Mexico.

FACTUAL ALLEGATIONS

7. On September 3, 1999, Defendants transferred Plaintiff and other minimum
and medium security prisoners from Santa Rosa, New Mexico, to Wallens Ridge State
Prison in Big Stone Gap, Virginia, a Supermax Prison, as punishment for alleged
participation in the killing of a guard and a riot at the prison in Santa Rosa on August 31,
1999,

8. Plaintiff did not participate in the killing of the guard or the riot.

9. Although Defendants have generally accused Plaintiff and others of
participating in the riot at Santa Rosa, they have not charged Plaintiff with any misconduct,
given him notice of charges, or held a hearing.

10. By August, 1999, the provision of correctional services at the Guadalupe
County Correctional Facility was far beneath reasonable standards of corrections
management and operations.

11. The classification and disciplinary systems were not functioning, proper
records were non-existent, and crucial security threats were being ignored. Prison guards
were overworked, under-trained and underpaid. The Guadalupe County prison was built
with serious design flaws and Defendants Perry and Johnson had created additional

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problems by ordering the removal or restriction of certain prison “amenities” from the new
private prisons in Santa Rosa and Hobbs.

12. On or around August 26, 1999, following serious incidents of violence at
other private prisons in the State, Governor Gary Johnson publicly expressed concern about
the disparity between public and private corrections facilities.

13. | According to Governor Johnson and Corrections Secretary Perry, prisoners at
private prisons who were involved in violent incidents were being sent back to the State-run
prisons where living conditions were more comfortable. Governor Johnson announced a
new policy of sending such prisoners out-of-state instead.

14. Onoraround August 27, 1999, the Corrections Department Defendants posted
a Notice informing inmates that “Any further incidents of violence will result in the transfer
of inmates to out-of-state facilities.”

15.  Onthe evening of August 31, 1999, a prisoner attacked another prisoner in the
Gym at the Santa Rosa prison and the inmates were ordered to return to their units. Plaintiff
was in his cell in E-Pod when other prisoners attacked the guard. He and his cell-mate
remained locked in their cell while fires were set in the housing unit.

16. Late that night Plaintiff and the other prisoners in E-Pod were searched,
restrained, and ordered to remain locked in their cells. Early the next morning the Plaintiff
was stripped and his possessions and clothes were taken. A guard took Plaintiff s wristwatch

from him After being photographed Plaintiff and the others were given paper suits to wear.

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17. The next day, September 1, 1999, Corrections Secretary Perry issued a press
release promising that “I will have a firm and swift response to this incident.”

18. The Wackenhut and Guadalupe County Defendants placed Plaintiffand others
in cold cells in a previously unused part of the prison without any running water or
mattresses. At about 9 p.m. that night mattresses were distributed.

19. The next morning, September 2, the prisoners were fed sack lunches and later
that day the prisoners were given blankets and the water was turned on.

20. Early on the morning of September 3, 1999, Santa Rosa prison guards placed
Plaintiff on a bus. He was chained around the waist, handcuffed, and had shackles on his
ankles. Around 3 a.m. a convoy of about 20-vehicles left Santa Rosa for Albuquerque.

21. Following a wait of several hours in buses on the runway at Kirtland Air Force
Base, Plaintiff and the other Santa Rosa prisoners were loaded by federal marshals into an
airplane for a three-hour trip. Upon their arrival at a small Tennessee airport the prisoners
were forced to wait for hours without drinking water in hot vans with windows sealed shut.

22. OnSeptember 3, 1999, Corrections Secretary Perry announced:

. the immediate transfer of approximately 120 inmates incarcer-

ated at the Guadalupe County Correctional Facility in Santa Rosa, to
the Wallens Ridge Correctional Facility in Big Stone Gap Virginia.

The 120 inmates are the individuals from housing unit one, pods A &
E, who participated in Tuesday nights’ riot that resulted in the vicious
killing of Correctional Officer Ralph Garcia.

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Perry also announced that:

The Wallens Ridge Correctional Facility is a Super Max Level 6
Prison, one of only two in the nation. The 120 inmates from GCCF will
remain at Wallens Ridge Correctional Facility indefinitely. While at
WRCF the inmates will be locked down for most of the day, pro-
grammed in their cells, and under the constant supervision of Correc-
tional Officers armed with 12 gauge combat shotguns.

23. The State of Virginia had recently opened its two new Supermax Prisons,
Wallens Ridge and Red Onion. Those prisons were designed and intended to confine,
control, and punish the worst and most violent prisoners in the country.

24. The prisoners were kept in vans near the Wallens Ridge Prison doors for over
four hours. They were not allowed to speak. Guards shouted taunts and threats. As they took
Plaintiff into the Wallens Ridge Prison guards hurt and physically injured Plaintiff.

25. Uponhis arrival at Wallens Ridge prison guards began calling Plaintiff “Water
Boy.” They continued taunting him and calling him “Water Boy” throughout the time he
spent at Wallens Ridge.

26. At Wallens Ridge Plaintiff was immediately placed and held in a Segregation
Unit. Defendants kept Plaintiffin a small cell and denied him any meaningful programs or
activities, denied opportunity for exercise and recreation, denied any medical or psychologi-

cal attention, denied access to books or law library, denied telephone calls and other human

contacts, unreasonably and cruelly humiliated and threatened Plaintiff, and in many respects
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subjected him to conditions of control and confinement which were far different and more
oppressive than any of Plaintiff's prior New Mexico prison experiences.

27. At Wallens Ridge Plaintiff was subjected to extraordinarily harsh and
degrading measures, including absolute denial of privacy, strict control and limitation of
movement, removal of social contact, absence of meaningful activity, sensory deprivation
and behavioral modification, and continual threats from electroshock weapons, chemical
sprays, firearms, shotguns, police dogs and other methods of control and discipline.

28. During his first five weeks at Wallens Ridge Plaintiff was never allowed out
of his cell without first being stripped, searched, shackled, chained, and handcuffed.

29. For the first five weeks of his confinement at Wallens Ridge Plaintiff was
allowed to do nothing and was allowed to speak to no one.

30. At Wallens Ridge Plaintiff was forced to live in a state of constant fear for his
life, unlike anything Plaintiff ever felt before.

31. Throughout his time at Wallens Ridge State Prison Plaintiff was continually
subjected to vile racial threats and epithets from prison guards.

32. At the time of his transfer and placement in segregation at Wallens Ridge
Plaintiff was not a gang member, he was not an escape risk, he had not engaged in any
violent activity in or out of prison, and he was not a troublemaker of any sort.

33. | Defendants have not given Plaintiff'any reason or explanation for sending him

to Wallens Ridge and confining him in the Segregation Unit.

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34.  Plaintiffwas returned from Wallens Ridge Prison to the prison in Santa Rosa,
New Mexico along with four other prisoners on or around January 14, 2000, by private
transport van.

35. Prior to boarding the van for the trip back to New Mexico, Wallens Ridge
guards placed handcuffs and ankle chains on Plaintiff which were excessively tight.
Because the transport officers were unable to loosen the chains and cuffs for the first part
of the trip back to New Mexico, Plaintiff suffered extreme discomfort and pain.

36. The significant hardships and brutal conditions of confinement at Wallens
Ridge State Prison were, with respect to Plaintiff, entirely without penological justification.

37. Plaintiff is presently incarcerated again at the Guadalupe County prison in
Santa Rosa, New Mexico.

38. Conditions at the prison in Santa Rosa are now as bad or worse than they were
six months before, when Defendants sent Plaintiff to Wallens Ridge. Prisoners of all
classifications, from minimum to maximum, are presently housed in the same housing units
at the prison and the potential for more prison violence is apparent and ever-present.

COUNT 1
VIOLATIONS OF THE RIGHT TO DUE PROCESS

39. After the inmate disturbance at Santa Rosa, the New Mexico Corrections

Department and Wackenhut Defendants selected Plaintiff and others for transfer to the

prison in Virginia without regard for whether or not he had participated in any misconduct

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at Santa Rosa, without conducting any investigation, without stating any valid reason or
justification, and without holding any hearing.

40. | Without reason or justification, Defendants arbitrarily and unreasonably
selected or approved the selection of Plaintiff for transfer and Supermax imprisonment in
Virginia.

41. Defendants’ transfer of Plaintiff to Virginia in chains and shackles, his
placement in segregation in a super maximum confinement prison, and the imposition of
cruelly restrictive conditions of confinement constitute atypical and significant hardships and
deprivations of Plaintiff's rights and interests.

42. Defendants’ acts and omissions and their treatment of Plaintiff described
herein violate commonly accepted norms of human, social, personal, and official conduct
and behavior, and constitute human rights violations which are truly unconscionable and
offensive to the concept of ordered liberty.

43. Despite his sentence of confinement, Plaintiff has a remaining liberty interest
which Defendants have denied or seriously compromised by their acts and omissions.

44. Defendant prison officials and Governor Johnson have shown a clear pattern
and practice of deliberate and knowing indifference to the sadistic and malicious acts of
imprisonment and brutality described herein as well as their failure to provide even minimal

due process of law.
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45. Defendants have violated Plaintiff's right to procedural and substantive due
process of law and are liable for the damages caused by their violations of Plaintiff's
constitutional rights.

COUNT 2

VIOLATIONS OF THE RIGHT TO BE FREE
OF CRUEL AND UNUSUAL PUNISHMENT

46. The preceding allegations and claims are adopted.

47. At the time Defendants transferred Plaintiff to Wallens Ridge, Plaintiff was
a non-violent individual who had no disciplinary infractions or misconduct on his prison
record.

48. By subjecting Plaintiff to the most harsh and extreme conditions of
confinement and punishment and by the mistreatment of Plaintiff described herein,
Defendants have cruelly and unusually inflicted punishment that goes far beyond the bounds
of any acceptable or necessary conduct.

49. New Mexico and Virginia corrections officials acted with indifference
concerning the use of extreme and unreasonable punishment. Even after receiving reports
of abusive treatment of New Mexico prisoners, corrections officials, they failed to take any
actions to investigate or punish corrections officers for engaging in excessive use of force
or other misconduct against prisoners, including intense and overt racism and demonstra-

tions of inhumanity.

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50. Defendants were fully aware that Plaintiff had nothing to do with the killing
of the guard at Santa Rosa or the disturbance that followed. They also knew, and it was
clearly foreseeable, that sending Plaintiffand other minimum and medium security prisoners
like him to a Supermax penitentiary would inflict unreasonable and serious emotional harm
and damage on the prisoners.

51. Defendants are liable for any and all damages, including but not limited to
damages for mental and emotional distress and physical pain and suffering, caused by their
infliction of cruel, unusual, and undeserved punishment on Plaintiff.

COUNT 3

VIOLATIONS OF THE RIGHT TO BE FREE
OF UNREASONABLE SEARCHES AND SEIZURES

52. The preceding allegations and claims are adopted.

53. Throughout the time he was transported to and from Wallens Ridge State
Prison and while he was at Wallens Ridge, Plaintiff was forced to submit to continual strip
searches and other body searches. He was repeatedly and painfully restrained, shackled,
handcuffed, and required to endure long periods of distress and discomfort.

54. Defendants forced Plaintiff to submit to numerous strip searches, especially
while in the Segregation Unit, where prisoners are searched every time they leave their cell.
A Wallens Ridge memo details the procedure:

Any time a strip search is conducted the inmate will be required to strip off all
his clothing, turn around slowly, put his hands on his buttocks, spread his buttocks, squat

to the ground while buttocks is still spread, and cough hard twice.

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This procedure will be followed any time a segregation inmate leaves his cell
for any reason. There will be no exceptions to this procedure.

(EXHIBIT 1).

55. By their policies, procedures, acts, and omissions, Defendants knowingly,
deliberately, and unreasonably removed and denied the residuum of privacy and personal
rights retained by Plaintiff following his conviction and sentencing.

56. Defendants are liable for any and all damages resulting from their, and their
agents and employees’, violations of Plaintiff's fundamental right to be free of unreasonable,
unwarranted and unjustified searches and seizures.

COUNT 4

VIOLATIONS OF THE RIGHT TO BE FREE
OF THE INCIDENTS OF SLAVERY

57. The preceding allegations and claims are adopted.

$8. Plaintiff is a 48-year old African-American, he was taken from his ordinary
term of imprisonment in New Mexico, transported in chains and shackles without a hearing
to a Super Maximum Security prison in Virginia, where he was isolated and repeatedly and
unnecessarily restrained, searched and threatened and subjected to injury, pain, and physical
and mental abuse.

59. Defendants have severely limited Plaintiff's movement, associations, and

activities and have subjected Plaintiff to unusually cruel and unreasonable punishment and

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conditions of confinement in violation of the Thirteenth Amendment to the United States
Constitution.
COUNT 5
VIOLATION OF INTERSTATE COMPACT

60. The preceding allegations and claims are adopted.

61. OnSeptember 3, 1999, New Mexico Corrections Secretary Perry and Virginia
Corrections Director Angelone entered into a Memorandum of Understanding Between the
Virginia Department of Corrections and the New Mexico Department of Corrections
allowing the transfer of the New Mexico prisoners to Wallens Ridge State Prison.
(EXHIBIT 2).

62. Defendants have entered into an interstate compact and contracts and
understandings among Wackenhut Corporation, Guadalupe County, the New Mexico
Department of Corrections, and the Virginia Department of Corrections.

63. |The compact, codified as State law at 3 1-5-17 NMSA (2000), provides that
inmates sent to another state’s institutions “shall be treated in a reasonable and humane
manner.....”

64. The compact further provides that confinement in another state “shall not
deprive any inmate so confined of any legal rights which said inmate would have had if

confined in an appropriate institution of the sending state.”

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65. Defendants have breached the provisions of the interstate compact by failing
to treat Plaintiff and others “in a reasonable and humane manner” and by failing to provide
Plaintiff with the same rights he “would have had if confined in an appropriate institution”
in New Mexico.

66. Plaintiff has been damaged as a result of Defendants’ breach of the interstate
compact and Defendants are liable to Plaintiff for damages sustained as a proximate result

of their conduct.

COUNT 6

CONSPIRACY, INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS,
AND EXEMPLARY AND PUNITIVE DAMAGES

67. The preceding allegations and claims are adopted.

6%. Defendants’ conduct described herein was willful, wanton, deliberate,
malicious, and was intended to punish and inflict pain and emotional harm upon Plaintiff
and others like him for acts he did not commit.

69. Defendants met, conversed, planned, and arranged between and among
themselves and with their subordinates to execute the transfer and punishment of Plaintiff
and the other New Mexico prisoners at Wallens Ridge State Prison.

70. Defendants acted among and between themselves with gross and deliberate
indifference and disregard for Plaintiff's rights and interests. Defendants are liable to

Plaintiff for damages proximately resulting from their acts and omissions.

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71. Defendants have exhibited a pattern and practice of deliberate and utter
indifference for excessive, brutal, and malicious use of force, cruel, unusual, and excessively
harsh conditions of confinement, arbitrary and unreasonable commitment to solitary
confinement, sensory deprivation and behavior modification, with the result that Plaintiff
has suffered serious physical and emotional damage, pain, and suffering.

72. Defendants have acted with deliberate and utter indifference for the rights of
Plaintiff and others like him; their conduct in this case is shocking and egregious.

73. Plaintiff is entitled to an award of exemplary and punitive damages to deter
and prevent Defendants and others from committing such extreme and constitutionally
offensive acts in the future.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the award of the following relief:

A. Declaratory and compensatory relief for damages resulting from violations of
Plaintiff's liberty interests and rights to due process of law, including but not limited to
damages for pain and suffering and emotional distress.

B. Declaratory and compensatory relief for damages resulting from violations of
Plaintiff's right to be free of unreasonable searches and seizures, cruel and unusual
punishment, and the incidents of slavery.

C. Declaratory and compensatory relief for damages resulting trom violations of

the interstate compact and other agreements among the parties.

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D. An Injunctive Order requiring Defendants to provide counseling, therapy,
treatment, and care necessary to restore Plaintiff to the physical and psychological condition
he was in prior to the occurrences described herein and to treat him for both the immediate
and the long-term effects of his experience.

E. Exemplary and punitive damages to discourage and prevent such and similar
acts by Defendants and others in the future in the amount of at least One Million Dollars.

F. Costs of this action and reasonable attorneys’ fees.

G. Such other and further equitable or legal relief as the Court deems just, proper,
and necessary.

Respectfully submitted,

Ro ate

Paul Livingston

Attorney for Calvin Jackson
P.O. Box 90908
Albuquerque, NM 87199
(505) 823-4410

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Viemo

To: INMATE ronan
From: MAJOR T. YATES

pate: 11/12/99

ne: STRIP SEARCH PROCEDURE

LATELY THERE HAS BEEN SOME CONFUSION ABOUT THE STRIP SEARCH PROCEDURE
HERE AT WALLENS RIDGE STATE PRISON. THIS MEMO WILL CLEAR UP ANY QUESTIONS

YOU MAY HAVE ABOUT THIS PROCEDURE.

ANY TIME A STRIP SEARCH IS CONDUCTED THE INMATE WILL BE REQUIRED TO STRIP
OFF ALL HIS CLOTHING, TURN AROUND SLOWLY, PUT HIS HANDS ON HIS BUTTOCKS,
SPREAD HIS BUTTOCKS. SQUAT TO THE GROUND WHILE BUTTOCKS IS STILL SPREAD, AND

COUGH HARO TWICE.
THIS PROCEDURE WILL BE FOLLOWED ANY TIME A SEGREGATION INMATE LEAVES HIS
CELL FOR ANY REASON. THERE WILL BE NO EXCEPTIONS TO THIS PROCEDURE.

MAJOR T. YATES

Plaintiff's

EXHIBIT 1
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UM OF UNDERSTANDING BETWEEN THE winches DEPARTMENT OF

MEMO ORRECTIONS AND THE NEW MEXICO DEPARTMENT F CORRECTIONS

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In is hereby directed 33 up to one busared tweaty ve (125) inmates, 43 igentified on de
cransfer memorssdum, who ste New Mexico Department of Corrections {Inmates thal
are custendy incarcerated St whe Guadalupe County Corectonal Fecility, be transferred 10 the

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custody of th corrections) sysop of ths State of Virginia, pursuant 00 provisions of th
Incerstace Corrections eoropect as provided under Sections $3.1-216 and 53.1-217 of He Code of
4 ansorated 1978, and

Implemen'
Section 27 of te Consact)- These isostes are 10 be delivered tO the custody of Virginis at the
following location: The Walens Ridge State Prison located nest Bis Stone Gap, Virginia

ses ages tha! for the purposes of this Memoranéu wat the Commonweal of Virginia
shail defcad, ice expense any claim arising from the comdidons of confinement in Virginia

Dep 2 of Cormectio facilites and al} excessive forces and failure 10 protect claims brou:

by any $ dinany Virginia © ections BcUItys shat the State of New
Mexico shall be tesP© ble for defending, at its expensé, ail legal prose* 2%. ng but not
ted to, act ght 1 Virg! 1: to a New Mexico Tamnate's

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cooperate with each other in defense of any action brought py a New Mexico Inmate OF

pertaining t0 a New Mexico Losnate.

Pursuant to Section 27 of the existing Contact, New Mexico shall p2y the Commonwealth of

Visginis & pe diera of $64.00 per day pet inmate. All other tert conditions of the
referenced existing Comet atween the Stale of New Mexico and the Sute of Virginis shall
apply. The erm oe whis transfer is for NP to one year, with ths understanding that the transfer
may lest less qhan one Yeu:

(name) <A

ROBERT “> ERS? Fon Angelons

“can Tuer SEEREEATT SS (due) _pixesth mere orectons (ide)
New Mexico Corrections Depastment Virginis Departement of Corsections

Subseribed 4 swom vefore me, 9 Notary Public, in and for the Suate of Virginia, this 2

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Poye!

Plaintiff's

EXHIBIT 2
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